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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTR]CT OF LOUISIANA
IN RE: WATTS, DONNA & MICHAEL CASE NO. 18-11379
DEBTOR CHAPTER 7

NOTICE AND ABANDONMENT OF PROPERTY BY THE TRUSTEE
TO ALL 'l`I-IE CREDITORS AND OTHER PARTIES IN INTEREST:

PLEASE TAKE NOTICE that without further order of the Court and unless there is an
objection within tiheen (15) days from the date of this notice, and pursuant to 11 U.S.C. Section
554(a), Martin A. Schott, the trustee of the estate of the above captioned debtors, abandons all of the
estate's interest in the following described property as being burdensome and of inconsequential
value to the estate:

Municipal Address: 17431 Empress Drive, Green well Springs, LA 70 739

Any creditor or other interested party having opposition to the proposed abandonment
must, within fifteen (15) days from the date of this Notice, file a written objection thereto with
the Clerk of the Bankruptcy Court, 707 Florida Street, Room l 19, Baton Rouge, LA 70801, and
must notice said objection for hearing in compliance with Local Bankruptcy Rule 303.

If no objection is timely filed, and set for hearing, the abandonment by the trustee as to
the property described hereinabove will become final without the necessity of any further action.

Baton Rouge, Louisiana, this 23rd day of Januag , 2019.

 

 

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